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        EXHIBIT 20
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    From:                  Matthew Heimbach
    To:                    .s.cA
    Subject:               Fwd: Please tend to immediately
    Date:                  Tuesday, November 20, 2018 7:53:02 PM
    Attachments:           Scan M.   Heimbach.pdf




    ---------- Forwarded message---------
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    Date: Tue, Nov 20, 2018, 5 :56 PM
    Subject: Please tend to immediately
    To: Matthew Heimbach <matthew.w.heimbach@gmail.com>


    Please send the attached to SCA@bsflip.com right away.

   Jim


   James E. Kolenich
   Kolenich Law Office
   9435 Waterstone Blvd. #140
   Cincinnati, OH 45249
   513-444-2150
   513-297-6065(fax)
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